            Case 7:19-cv-03558-CS Document 96 Filed 10/19/20 Page 1 of 1
                            UNITED STATES DISTRICT COURT
                                           The Charles L. Brieant, Jr
                                 Federal Building and United States Courthouse
                                             300 Quarropas Street.
                                         White Plains, New York 10601
                                                 914 390 4250

    Chambers of
Hon. Paul E. Davison
United States Magistrate Judge                                                   October 19, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                SCHEDULING ORDER
                                                                    7:19-cv-3558-CS-PED
 Cannistra Realty LLC
                                  Plaintiff,

                  - against -



 Wheeler, et al.,
                                  Defendants.




TO ALL PARTIES:

The settlement conference scheduled on October 21, 2020 at 2:30 pm before the Honorable

Paul E. Davison, United States Magistrate Judge, is adjourned without date.




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 DOC #  FILED: Oct 19, 2020




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